Case 2:03-cr-20187-.]PI\/| Document 49 Filed 04/22/05 Page 1 of 2 Page|D 49

 

IN THE UNITED sTATEs DISTRICT coURT -":`fi=l~ w£d
FoR THE wEsTERN DISTRICT oF TENNESSEE `
wEsTERN DIVISION U5=*:-‘*`1"-f'2!
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UNITED sTATEs oF AMERICA, W_Ebg';"§;r:f:',&$. iii

vs. CR. NO. 03-20187M1V

LARRY BOWMAN,

Defendant.

 

ORDER ALLOWING WITHDRAWAL OF COUNSEL

 

Before the court is the April ll, 2005 motion filed by court-
appointed counsel Robert C. Brooks to withdraw from further
representation of the defendant. As grounds for the :motion,
counsel states that he represented the defendant on appeal, that
the case has been remanded for re-sentencing, and that his practice
is limited to appellate work.

The court finds the motion well-taken.

IT IS THEREFORE ORDERED for good cause shown that Robert C.
Brooks be and hereby is allowed to withdraw as counsel for the
defendant. New counsel will be appointed frmn the CJA list of
attorneys by separate order.

;m\/LW /(‘ zian

DIANE K. VESCOVO
UNITED STATES MAG;§?RATE JUDGE
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DATE

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UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:03-CR-20187 Was distributed by faX, mail, or direct printing on
Apri125, 2005 to the parties listed.

 

 

Robert C. Brooks

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Honorable J on McCalla
US DISTRICT COURT

